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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                             Case No. 1:04-cr-20046-6

v.                                                            Honorable Thomas L. Ludington
                                                              United States District Judge
EDRES MONTGOMERY,

                  Defendant.
_________________________________________/

                                            OPINION

       This matter is before this Court following the Sixth Circuit’s reversal and remand of

Defendant Edres Montgomery’s (“Defendant”) resentencing. See United States v. Montgomery,

No. 04-20046-06, 2020 WL 736219 (E.D. Mich. Feb. 13, 2020), vacated and remanded, 998 F.3d

693 (6th Cir. 2021); ECF Nos. 347; 348; 355; 364. For the reasons explained hereafter, the

Probation Department has recalculated Defendant’s Guidelines range using the United States

Sentencing Guidelines (“Guidelines”) as they existed at his February 13, 2020 resentencing. ECF

No. 373 at PageID.2266 (Amended Presentence Investigation Report) (filed under seal).

                                                 I.

       This case has received periodic attention for over 16 years.1 Compare ECF No. 74 (Second

Superseding Indictment, October 2005), with ECF No. 368 (Order for Full Presentence Report,

August 2021). In October 2007, a jury found Defendant guilty of, inter alia,2 one count of




1
  The following history is parsed as relevant to this Order. For a much more detailed history of this
case, see ECF No. 368 (Order for Full Presentence Report and Scheduling Defendant’s Re-
sentence Date).
2
  In case number 1:06-cr-20544, the jury also found Defendant guilty of two counts of tampering
with a witness in violation of 18 U.S.C. § 1512(b)(1). ECF No. 190. For each of those counts,
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conspiracy to distribute five kilograms or more of cocaine or 50 grams or more of cocaine base

(“crack”) in violation of 21 U.S.C. § 841(b)(1)(A) (“Count 1”), and one count of distribution of

five grams or more of crack in violation of 21 U.S.C. § 841(a)(1) (“Count 8”). ECF No. 190.

       In March 2008, Defendant was sentenced to life imprisonment on Count 1 and to 360

months’ imprisonment on Count 8, to run concurrently. ECF No. 238. On appeal, the Sixth Circuit

affirmed the Judgment, and the Supreme Court later denied Defendant’s petition for a writ of

certiorari. See United States v. Montgomery, 358 F. App’x 622 (6th Cir. 2009), cert. denied, 559

U.S. 1081 (2010).

       On December 21, 2018, the First Step Act of 2018 (“1SA”) was signed into law.3 The 1SA

was intended, in relevant part, to rectify sentencing penalties that disparately affected people

convicted of crack and powder cocaine offenses. See United States v. Boulding, 960 F.3d 774, 782

(6th Cir. 2020). To that end, the 1SA made certain provisions of the nonretroactive Fair Sentencing

Act of 2010 (“FSA”)4 apply retroactively to people, like Defendant, who were first sentenced

before August 3, 2010.5

       In January 2019, Defendant filed a 1SA motion pro se to reduce his sentence.6 See ECF

No. 337. The Government opposed Defendant’s Motion. ECF No. 343.




Defendant was sentenced to 120 months’ imprisonment, to run concurrently to all custody terms.
ECF No. 238 at PageID.859.
3
  First Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194 (2018).
4
  Fair Sentencing Act of 2010, Pub. L. No. 111-220, 124 Stat. 2372 (2010).
5
  Defendant was first sentenced in March 2008. See ECF No. 238.
6
  Defendant purported to file his Motion under 18 U.S.C. § 3582(c)(2). See ECF No. 337 at
PageID.2106. Although § 3582(c)(2) is the appropriate vehicle for a reduction based on a
retroactive amendment to the Guidelines, no such amendment exists in this case. Thus, Defendant
likely meant to file his motion under “[s]ection 3582(c)(1)(B)[,] [which] serves as the vehicle for
a proceeding under § 404 of the First Step Act.” United States v. Allen, 956 F.3d 355, 356 (6th Cir.
2020); accord United States v. Bonds, 858 F. App’x 873 (6th Cir. 2021); United States v. Wirsing,
943 F.3d 175, 183-85 (4th Cir. 2019), as amended (Nov. 21, 2019). Therefore, in the interests of
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       In February 2020, this Court exercised its discretion under the 1SA and granted

Defendant’s Motion in part, making two reductions in Mr. Montgomery’s sentences. See ECF Nos.

346; 347. First, this Court reduced Defendant’s Count 1 sentence from life to 275 months. See

ECF No. 346 at PageID.2181. His Count 1 conviction for 50 grams or more of crack fell under 21

U.S.C. § 841(b)(1)(A), requiring life imprisonment. Id. at PageID.2176. But the FSA moved 50

grams of crack to § 841(b)(1)(B), requiring at least 120 months’ imprisonment and eight years’

supervised release. Id. Second, this Court reduced Defendant’s Count 8 sentence from 360 months

to 145 months. Id. at PageID.2181. His Count 8 conviction for distribution of five grams or more

of crack fell under 21 U.S.C. § 841(b)(1)(B), requiring at least 120 months’ imprisonment. See 21

U.S.C. § 841(b)(1)(B) (2009). But the FSA moved five grams of crack to 21 U.S.C. § 841(b)(1)(C),

imposing a maximum of thirty years’ imprisonment with six years’ supervised release. ECF No.

346 at PageID.2179–80. Thus, this Court reduced Defendant’s total sentence from life to 35 years’

imprisonment.

       Defendant appealed, arguing that “the district court applied the wrong Criminal History

Category, placing [him] in a higher Sentencing Guidelines range.” United States v. Montgomery,

998 F.3d 693, 696 (6th Cir. 2021). He contended that was so because, at his first sentencing, he

received “one extra criminal history point for committing the offense for which he was being

sentenced within two years of release from prison.” Id. at 700. The United States Sentencing

Commission (“Commission”) eliminated the recency penalty in 2010. Id. The effect, according to

Defendant, was to overstate his criminal history as Category VI instead of Category V. Id.




fairness and justice, this Court construed Defendant’s Motion as if properly filed under §
3582(c)(1)(B).
                                              -3-
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       The Montgomery court agreed, finding that Defendant and the Government both invited

Defendant’s failure to raise the Guidelines amendment in the district court because they

“uncritically assumed that his Criminal History Category had not changed since his first

sentencing.” Id. at 699. In addition, the Montgomery court found the error to be plain and has, thus,

remanded the case for resentencing, concluding that it would be “difficult to see how the interests

of justice would be served by requiring Montgomery to linger longer in prison because no one in

the district court, the court itself included, noticed that the way we calculate a defendant’s Criminal

History Category had changed between his two sentencings.” Id. at 700.

                                                  II.

       At the Sixth Circuit’s direction, this Court directed the Probation Officer to update

Defendant’s Presentence Investigation Report (“PSR”) to recalculate Defendant’s Guidelines

range using the Guidelines as they existed at Defendant’s resentencing, which it did. See id. at 701;

ECF Nos. 355; 368; 373 (filed under seal). His resentencing is scheduled for 3:30 PM EST on

November 9, 2021. ECF No. 368.

       The Montgomery court invested significant effort to clarify the continuum regarding “the

difference between waiver, invited error, and forfeiture.” See generally Montgomery, 998 F.3d at

693–701. But, respectfully, in its five-paragraph discussion related to the 1SA, the Montgomery

court did not address the Sixth Circuit’s foray into a nationwide circuit split some 66 days earlier.

See id. at 696–97, 700–01; see also United States v. Maxwell, 991 F.3d 685 (6th Cir. 2021).

       The split concerns whether the 1SA requires district courts to pair the FSA’s modifications

(“FSA modifications”) with the Guidelines either as they existed at the defendant’s original

sentencing or as they exist at the defendant’s resentencing. Before addressing the merits of

Defendant’s resentencing, a discussion of that issue is necessary.


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                                                III.

       In 1984, Congress made the Guidelines mandatory and binding on all judges. See Mistretta

v. United States, 488 U.S. 361, 391 (1989). Therefore, judges were required to sentence within the

Guidelines range calculated at sentencing. But in United States v. Booker, the Supreme Court

severed that provision and held that Guidelines ranges are advisory: one of eight factors that judges

must consider. See 543 U.S. 220, 245 (2005).

       On November 1, 2010, the Commission enacted Amendment 742 into the Guidelines.7

Amendment 742 eliminated § 4A1.1(e),8 which called for additional criminal-history points

depending on the “recency” of a defendant’s past sentences. See United States v. Davy, 433 F.

App’x 343, 346 n.2 (6th Cir. 2011) (noting the change). Compare U.S. SENT’G GUIDELINES

MANUAL § 4A1.1(e) (U.S. SENT’G COMM’N 2009), with id. (U.S. SENT’G COMM’N 2018).

       The Commission “studied and considered whether to make Amendment 742 retroactive,

but it ultimately decided against retroactivity.” United States v. Koski, No. 4:08CR3148, 2011 WL

1400004, at *1 (D. Neb. Apr. 12, 2011), aff’d on other grounds, 409 F. App’x 971 (8th Cir. 2011).

In September 2010, the Commission issued a memorandum that compared “the estimated impact

of the Recency Amendment” between offenders sentenced before and after the FSA.9 In sum, the

Commission found that, if retroactive, Amendment 742 would (1) “have no effect” on more than




7
  U.S. SENT’G GUIDELINES MANUAL app. C, amend. 742 (U.S. SENT’G COMM’N 2010) (eliminating
“recency” points from the criminal history scoring). The Commission added Amendment 742
because data indicated that cases using recency points were “frequent[ly] below-guideline
sentences.” Amy Baron-Evans & Kate Stitch, Booker Rules, 160 U. PA. L. REV. 1631, 1674 n.243
(2012).
8
  Section 4A1.1(e) added one or two points to the criminal-history score if the defendant committed
the instant offense less than two years after release from at least 60 days’ imprisonment.
9
  See U.S. SENT’G COMM’N, ANALYSIS OF THE IMPACT OF AMENDMENT TO SECTION 4A1.1 OF THE
SENTENCING GUIDELINES IF THE AMENDMENT WERE APPLIED RETROACTIVELY 5 (2010).
                                                -5-
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65% of offenders;10 (2) benefit African-American offenders less than others;11 and (3) benefit

“drug trafficking and firearms offenders” more than others.12

        In Dillon v. United States, the Supreme Court held that such “retroactivity determinations

. . . are [indisputably] binding.” 130 S. Ct. 2683, 2693 (2010).

        Indeed, courts have consistently held that Amendment 742 is not retroactive because the

Commission specifically determined it is not. E.g., Corrado v. United States, No. 08-CR-2018-L-

1, 2011 U.S. Dist. LEXIS 90071, at *2 (S.D. Cal. Aug. 12, 2011) (holding Amendment 742 is not

retroactive for challenges brought under § 3582(c)(2)); United States v. Wayne, 516 F. App’x. 135,

137 (3d Cir. 2013) (holding that because “Amendment 742 was not made retroactive,” it could not

piggyback on Amendment 750’s retroactivity); United States v. Johnson, 703 F.3d 464, 467–68,

469–71 (8th Cir. 2013) (upholding Amendment 742’s nonretroactivity under both the APA and

the Due Process Clause of the Fifth Amendment).

        The Sixth Circuit has also cosigned Amendment 742’s nonretroactivity. In United States

v. Bonds, the Sixth Circuit held “as a matter of first impression” that applying a retroactive

amendment does not give courts “the authority to consider the non-retroactive Amendment 742 in

determining eligibility for a § 3582(c)(2) reduction.” 839 F.3d 524, 526 (6th Cir. 2016).

        Therefore, Amendment 742 applies only to defendants sentenced after August 3, 2010.

Accord ECF No. 238 (sentencing Defendant without Amendment 742 on March 25, 2008).

                                                IV.

                                                 A.




10
   See id. at 7.
11
   See id. at 12.
12
   See id. at 5 n.15; see also id. at 13.
                                                -6-
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       Enter the First Step Act of 2018 (“1SA”).13 In relevant part, the 1SA gives federal courts

discretion to reduce sentences resulting from pre-FSA violations of 21 U.S.C. §§ 841(b)(1)(A) and

(B) as if the FSA modifications applied.14 Id.; 18 U.S.C. § 3582(c); see also Terry v. United States,

141 S. Ct. 1858 (2021) (holding that the 1SA does not authorize federal courts to resentence pre-

FSA violations of 21 U.S.C. § 841(b)(1)(C)).

       Applicable here, § 404 of the 1SA concerns the “application of [the FSA].” First Step Act

of 2018, § 404(b), Pub. L. No. 115-391, 132 Stat. 5194, 5222 (2018). Section 404 provides:

       (a) DEFINITION OF COVERED OFFENSE.—In this section, the term “covered
       offense” means a violation of a Federal criminal statute, the statutory penalties for
       which were modified by section 2 or 3 of the Fair Sentencing Act of 2010 (Public
       Law 111–220; 124 Stat. 2372), that was committed before August 3, 2010.

       (b) DEFENDANTS PREVIOUSLY SENTENCED.—A court that imposed a
       sentence for a covered offense may, on motion of the defendant, the Director of the
       Bureau of Prisons, the attorney for the Government, or the court, impose a reduced
       sentence as if sections 2 and 3 of the Fair Sentencing Act of 2010 (Public Law 111–
       220; 124 Stat. 2372) were in effect at the time the covered offense was committed.

       (c) LIMITATIONS.—No court shall entertain a motion made under this section to
       reduce a sentence if the sentence was previously imposed or previously reduced in
       accordance with the amendments made by sections 2 and 3 of the Fair Sentencing
       Act of 2010 (Public Law 111–220; 124 Stat. 2372) or if a previous motion made
       under this section to reduce the sentence was, after the date of enactment of this
       Act, denied after a complete review of the motion on the merits. Nothing in this
       section shall be construed to require a court to reduce any sentence pursuant to this
       section.

Id.

       The elephant in the room, then, is the question of whether district courts resentencing under

the 1SA should recalculate the Guidelines range using the Guidelines either as they existed at the

original sentencing or as they exist at the resentencing.



13
  First Step Act of 2018, § 404(b), Pub. L. No. 115-391, 132 Stat. 5194, 5194–249 (2018).
14
  The 1SA gives the same discretion to modify sentence post-FSA violations of 21 U.S.C. §§
960(b) and 844(a). See id.
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                                                  B.

       The first published case to address that issue was United States v. Hegwood, 934 F.3d 414,

418 (5th Cir. 2019). In Hegwood, the Fifth Circuit reasoned that the 1SA “does not allow plenary

resentencing.” 934 F.3d at 415. As Defendant did in this case, Hegwood filed a 1SA motion to

reduce the pre-FSA sentence he received after pleading guilty to violating 21 U.S.C. §

841(b)(1)(B). Id. at 415–16. Contrary to Hegwood’s position, the district court applied the FSA

modifications to the Guidelines as they existed at his original sentencing. See id. at 416.

       On appeal, Hegwood argued that the 1SA required the district court to recalculate his

Guidelines range using the Guidelines as they existed at resentencing, because “[s]ection 404(b)

of the [1SA] requires the district court to ‘impose’ a reduced sentence, rather than to ‘modify’

one.” Id. at 417. Because Congress used the word “impose” as it did in § 3582(a),15 the court must

consider the § 3553(a) factors, which include the Guidelines. Id. In contrast, § 3582(c) uses the

word “modify,” which “does not constitute a full resentencing of the defendant.” Id. Thus,

Hegwood concluded, “the [1SA] requires a Guideline calculation to be made that is correct as of

the time of the new sentencing.” Id. at 417–18.

       The Fifth Circuit affirmed the district court, holding that the 1SA allows district courts to

“reduc[e] a sentence previously imposed.” Id. at 418. Thus, the earlier Guidelines range should be

“adjusted ‘as if’ the lower drug offense sentences were in effect” when the defendant committed

the offense. Id. Applying the interpretive canon expressio unius, the Fifth Circuit reasoned that

“Congress did not intend that other changes were to be made as if they were too in effect at the




15
  Section 3582(a) is titled “Factors To Be Considered in Imposing a Term of Imprisonment” and
requires sentencing courts to “consider the factors set forth in section 3553(a)” and “any pertinent
policy statements issued by the Sentencing Commission” when “a term of imprisonment is to be
imposed.” 18 U.S.C. § 3582(a).
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time of the offense,” because it expressly backdated only §§ 2 and 3 of the FSA. Id. (citing TRW

Inc. v. Andrews, 534 U.S. 19, 28–29 (2001)). Based on similar expressions in § 3582(c)(2),

“Congress intended to authorize only a limited adjustment to an otherwise final sentence and not

a plenary resentencing.” Id. (emphasis added) (quoting Dillon v. United States, 560 U.S. 817, 826

(2010)). Therefore, district courts should resentence “as if all the conditions for the original

sentencing were again in place with one exception”: the FSA modifications. Id. at 418–19.

       In United States v. Berry, the Western District of Michigan considered a 1SA motion for a

sentence reduction. No. 1:09-CR-05-2, 2019 WL 2521296 (W.D. Mich. June 19, 2019). Consistent

with Hegwood, the Berry court reasoned that “the [1SA] does not provide for a plenary-

resentencing,” because it “does not impose any artificial or guideline limits on a reviewing court.”

Id. at *4 (citations omitted). Although the Commission is the engine propelling § 3582(c)(2), the

Commission has “nothing to do with” the 1SA. Id. (citation omitted). Therefore, the Berry court

concluded, courts reducing sentences under the 1SA are not required to consider the Guidelines

as they exist at resentencing, but they may consider such a recalculation, as the Berry court did.

Id. at *4–5. But that discretion, the Berry court elaborated, does not allow district courts to

retroactively apply nonretroactive Amendment 742. Id. at *4 n.5 (citing United States v. Bonds,

839 F.3d 524, 528 (6th Cir. 2016)).16

       Notably, in United States v. Allen, the Sixth Circuit agreed with Berry that the 1SA imposes

no limits on what district courts may consider. 956 F.3d 355, 357 (6th Cir. 2020) (“Section 404’s

silence regarding the standard that courts should use in determining whether to reduce a

defendant’s sentence cannot be read to limit the information that courts may consider.”).



16
  The Fourth Circuit also refused to eliminate “recency” points based on the same rationale. United
States v. Brooks, 788 F. App’x 213, 213–14 (4th Cir. 2019) (“U.S.S.G. § 1B1.10 provides that
only some Guideline Amendments are retroactive, and Amendment 742 is not one of them.”).
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 Furthermore, the Allen court agreed with Hegwood that the 1SA does not require district courts to

 conduct plenary resentencing. Id. at 358 (“[T]he First Step Act § 404 in contrast only granted

 courts the power to modify sentences.” (citing United States v. Alexander, 951 F.3d 706, 708 (6th

 Cir. 2019))).

        Nine days after Allen, the Fourth Circuit decided United States v. Chambers, 956 F.3d 667

 (4th Cir. 2020). In Chambers, the Fourth Circuit considered whether a district court’s erroneous

 decision not to apply intervening retroactive case law when resentencing the defendant in a 1SA

 proceeding warranted reversal. See id. at 668. Distinguishing Hegwood, the Fourth Circuit

 reversed the district court because “any Guidelines error deemed retroactive . . . must be corrected

 in a [1SA] resentencing,” thus requiring the court to “recalculate the Guidelines range.” Id. at 668,

 672 (citing Gall v. United States, 552 U.S. 38, 49 (2007)). But the Chambers court sidestepped

 “the question of which manual applies in [FSA] cases,” because its holding would not have

 changed either way. See id. at 670 n.1.

        Thus, after Allen and Chambers, the question remained: Which Guidelines must

 resentencing courts apply?

                                                  C.

        In requiring this Court to resentence Defendant “under the Guidelines as they existed at the

 time of resentencing,” the Montgomery court relied on United States v. Boulding, 960 F.3d 774,

 777 (6th Cir. 2020). See United States v. Montgomery, 998 F.3d 693, 697, 700–01 (6th Cir. 2021).

 Respectfully, this Court does not read Boulding to require courts resentencing under the 1SA to

 apply the Guidelines as they exist at the time of resentencing.

        In Boulding, the Sixth Circuit addressed whether courts must allow defendants to present

 objections to a resentencing conducted upon a 1SA motion for reduction. 960 F.3d 774 (6th Cir.


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 2020). The Boulding court held in the affirmative17 but repeatedly agreed with Hegwood, Berry,

 and Allen that eligible “[d]efendants seeking a reduced sentence under the [1SA] are not entitled

 to plenary resentencing.” Id. at 774, 775, 782, 783, 784. The Boulding court elaborated that

 “district courts are empowered to provide process and to consider resentencing factors as they see

 fit,” because the 1SA “imposes no additional constraints on the district court’s discretion” after

 recalculating the defendant’s Guidelines range with the FSA modifications. Id. at 783 (emphases

 added).

           Thus, even though the district court paired the FSA modifications with the Guidelines as

 they existed at resentencing,18 Boulding, like Chambers, did not implicate which Guidelines

 resentencing courts must use. Indeed, the Boulding court concluded that the district court

 “correctly” invoked its “wide discretion” when it compared the Guidelines calculation “at the

 original sentencing with the amended guideline range as it existed at resentencing.” See id. at 784.

           The Montgomery court’s interpretation of Boulding likely stems from the passage where

 the Boulding court stated that “the necessary [1SA] review—at a minimum—includes an accurate

 calculation of the amended guidelines range at the time of resentencing.”19 Boulding, 960 F.3d at

 784. The Montgomery court appears to have understood that passage to provide that the “amended

 guidelines range” must be recalculated using the Guidelines as they existed “at the time of




 17
    The Boulding court concluded that “an opportunity to present objections . . . is part and parcel
 of the process due to an eligible defendant.” Id. at 784.
 18
    See United States v. Boulding, 379 F. Supp. 3d 646, 654–56 (W.D. Mich. 2019) (applying “the
 guidelines as they exist now”), aff’d in part, vacated in part, remanded, 960 F.3d 774 (6th Cir.
 2020).
 19
    Although the Montgomery court did not elaborate on its interpretation of Boulding, the cited
 passage is the only relevant one on the page that the Montgomery court cited. See Montgomery,
 998 F.3d at 697 (“[T]he district court had to re-calculate Montgomery’s Guidelines range to ensure
 that it sentenced him under the Guidelines as they existed at the time of resentencing.” (citing
 Boulding, 960 F.3d at 784)).
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 resentencing.” Id. But in context, that passage means only that the district court must have reviewed

 an accurate amended Guidelines range “at the time of resentencing.” See id. at 784 (emphasis

 added). Thus, anything beyond that is within the district court’s discretion, including whether to

 consider a recalculated Guidelines range that applies the Guidelines as they exist at resentencing.

        Indeed, the Tenth Circuit’s interpretation of Boulding contradicts the Montgomery court’s

 interpretation. See United States v. Brown, 974 F.3d 1137, 1139–40, 1142, 1144 (10th Cir. 2020)

 (holding that the 1SA “does not authorize plenary resentencing” but “may authorize a broader

 resentencing” (citing Boulding, 960 F.3d at 776)).

        Similarly, the First, Second, Eighth, and Ninth Circuits have interpreted the 1SA not to

 require district courts to use the Guidelines as they exist at resentencing. See United States v.

 Concepcion, 991 F.3d 279, 279, 286 (1st Cir. 2021) (holding that district courts need not

 “recalculate defendant’s Guidelines Sentencing Range (GSR) under current Sentencing

 Guidelines”), cert. granted sub nom. Concepcion v. United States, No. 20-1650, 2021 WL

 4464217 (U.S. Sept. 30, 2021); United States v. Moore, 975 F.3d 84, 92 (2d Cir. 2020) (“We

 therefore hold that the [1SA] does not entail a plenary resentencing, and that it does not obligate a

 district court to recalculate an eligible defendant’s Guidelines range, except for those changes that

 flow from Sections 2 and 3 of the [FSA] . . . .”); United States v. Brewer, 836 F. App’x 468, 468-

 69 (8th Cir. 2021) (per curiam) (holding that under the 1SA, defendants are “not entitled to a

 plenary resentencing hearing”); United States v. Kelley, 962 F.3d 470, 475 (9th Cir. 2020), cert.

 denied, No. 20-7474, 2021 WL 2637994 (U.S. June 28, 2021) (“[A] district court that decides to

 exercise its discretion under the [1SA] must: (1) place itself in the counterfactual situation where




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 all the applicable laws that existed at the time the covered offense was committed are in place,

 making only the changes required by sections 2 and 3 of the Fair Sentencing Act . . . .”).20

                                                   V.

        On March 19, 2021, the Sixth Circuit directly addressed the circuit split over which

 Guidelines courts should apply when considering a 1SA motion for reduction. In United States v.

 Maxwell, the Sixth Circuit addressed two distinct questions: (1) Does the 1SA require plenary

 resentencing “that accounts for all changes in the law since [the] original sentence?”; and (2) Does

 the 1SA require judges to “consider intervening legal developments, such as changes in the . . .

 guidelines?” 991 F.3d 685 (6th Cir. 2021). The Maxwell court unequivocally answered both “No.”

        Maxwell filed a 1SA motion to reduce the pre-FSA sentence he received after a jury found

 him guilty of “conspiring to distribute crack cocaine and heroin.” Id. at 687. The district court

 denied Maxwell’s motion. Id. at 688.

        On appeal, Maxwell sought the same result as Defendant in this case: he argued that the

 1SA required the district court to “recalculate[] the guideline range according to the law at the time

 of the request.” Id. at 689. For Maxwell, “that new calculation would have accounted for

 subsequent changes in other areas of the law since [his pre-1SA] sentencing,” thus requiring the

 district court to change his career-offender status. Id.

        According to the Maxwell court, the 1SA “tells the court to alter just one variable in the

 original sentence, not all variables.” Id. at 689. That is, the 1SA “asks the court to sentence [the

 defendant] ‘as if’ [the FSA modifications applied], not as if other changes had been made to

 sentencing law in the intervening years.” Id. Citing the Second, Fifth, Eleventh, and Ninth Circuits,



 20
   Notably, though, the Concepcion and Moore courts have, like the Montgomery court, interpreted
 Boulding as requiring district courts to pair the FSA modifications with the Guidelines as they
 exist at resentencing. See Concepcion, 991 F.3d at 285; Moore, 975 F.3d at 90 n.30.
                                                 - 13 -
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 the Sixth Circuit confirmed that “the district court looks to the law as it existed at the time the

 defendant committed the offense, save for one change: the [FSA]’s amendments.” Id. To that end,

 the Maxwell court unequivocally concluded that Boulding should be read as only requiring courts

 to apply the FSA modifications at resentencing. See Maxwell, 991 F.3d at 690–91 (“Boulding . . .

 . no doubt speaks to a court’s discretion to consider intervening legal developments when

 responding to a petition under the [1SA] . . . . But it does not require a plenary resentencing.”).

        The Maxwell court concluded, in the most comprehensive analysis of the issue to date, that

 the 1SA cases “do not require district courts to conduct plenary resentencing hearings in response

 to a petition under the [1SA]”; on the contrary, they give courts discretion “to consider subsequent

 developments in deciding whether to modify the original sentence and, if so, in deciding by how

 much.” Id. at 691 (Sutton, C.J.). To wit:

        All told, our decisions and most of our sister circuits permit defendants to raise
        these intervening developments, such as changes to the career-offender guidelines,
        as grounds for reducing a sentence, and they permit (but do not require) district
        courts to consider these developments in balancing the § 3553(a) factors and in
        deciding whether to modify the original sentence.

 Id. at 692 (emphasis added). Thus, “[t]he key impact is that a court, in addressing these arguments

 by a defendant, has discretion not to recalculate the guidelines to account for intervening legal

 developments.” Id. (emphasis added).

        To be clear, in the Sixth Circuit, a district court that resentences a defendant under the 1SA

 must recalculate the defendant’s Guidelines range using the FSA modifications, but the district

 court may choose to pair the FSA modifications with the Guidelines either as they existed at the

 original sentencing or as they exist at the resentencing.21 Id.



 21
    Maxwell technically says that courts may consider intervening legal developments, as
 represented in the current Guidelines, when balancing the § 3553(a) factors. Although the
 functional result is the same as stated above, this is an analytical difference worth clarifying.
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                                                   VI.

        Enter Mr. Edres Montgomery’s second appeal to the Sixth Circuit. United States v.

 Montgomery, 998 F.3d 693 (6th Cir. 2021). Montgomery is factually identical to Maxwell.

        Like the Maxwell defendant, Montgomery argued that the 1SA required this Court to

 recalculate his Guidelines range using the Guidelines as they existed at his resentencing, thereby

 requiring retroactive application of nonretroactive Amendment 742. See United States v.

 Montgomery, 998 F.3d 693, 700 (6th Cir. 2021). Instead, this Court applied the FSA modifications

 to the Guidelines as they existed at Montgomery’s original sentencing. Doing so was consistent

 with precedent from the First, Second, Fifth, Eighth, Ninth, Tenth, and Eleventh Circuits—and the

 Sixth Circuit in Maxwell.

        The Montgomery court went to a significant effort to clarify “the difference between

 waiver, invited error, and forfeiture.” See generally Montgomery, 998 F.3d at 693–701. That

 discussion is undoubtedly sound. But the Montgomery court’s interpretation of Boulding

 diametrically opposes the Maxwell court’s interpretation. Compare Maxwell, 991 F.3d at 689–90

 (analyzing five circuits to conclude that “Boulding does not hold, or for that matter say, that district

 courts must engage in a plenary reduction of the guidelines range at the outset, requiring the court

 to redetermine the guidelines range based on all intervening legal development, not just passage

 of the Fair Sentencing Act”), with Montgomery, 998 F.3d at 696–97, 700–01 (citing Boulding to

 hold that “the district court has to re-calculate Montgomery’s Guidelines range to ensure that it

 sentenced him under the Guidelines as they existed at the time of resentencing”).




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        Confusingly, the Montgomery court applied the reading of Boulding that the Maxwell court

 explicitly rejected 66 days earlier. And Montgomery does not even whisper of Maxwell.22

        The Second, Eleventh, and Sixth Circuits have since read Boulding contrary to the

 Montgomery court’s reading. In United States v. Moyhernandez, the Second Circuit reasoned that

 Boulding does not require district courts to apply the Guidelines as they exist at the time of

 resentencing. 5 F.4th 195, 203 (2d Cir. 2021). Likewise, 35 days after the Second Circuit rejected

 Montgomery’s reading of Boulding, the Eleventh Circuit rejected Boulding to hold that district

 courts do not have to conduct “a complete review of [initial motions] on the merits.” See United

 States v. Gonzalez, 9 F.4th 1327 (11th Cir. 2021).

        Indeed, the Sixth Circuit has since affirmed the Bonds court’s pairing of the FSA

 modifications with the Guidelines as they existed at the time of the original sentencing. See United

 States v. Bonds (Bonds II), 858 F. App’x 873 (6th Cir. 2021).

        Most recently, the Sixth Circuit has relied on Maxwell thrice for the proposition that “the

 range is calculated ‘as the law existed at the time of the original offense, accounting for the new

 variable created by the [FSA].’” United States v. Moreno, No. 20-2235, 2021 WL 4206277 (6th

 Cir. Sept. 16, 2021) (Guy, J.) (emphasis added) (citation omitted);23 see United States v. Osborne,

 No. 20-5394, 2021 WL 3199233, at *2 (6th Cir. July 29, 2021) (Siler, J.) (“The [FSA] states that

 a district court ‘may’ grant a defendant a reduced sentence based on the [FSA]; it does not say that

 a court ‘must’ do so.” (citing United States v. Maxwell, 991 F.3d 685, 689 (6th Cir. 2021); and



 22
    Similarly, 53 days before Maxwell, the Third Circuit relied on Boulding for the proposition that
 Maxwell explicitly rejected. See United States v. Murphy, 998 F.3d 549 (2012) (“[W]e again join
 the Sixth Circuit’s conclusion . . . .”). Likewise, the Murphy court did not mention Maxwell. See
 generally id. Both cases are more likely due to limited access to Maxwell within the time to
 consider it rather than disagreement with Maxwell’s analysis and conclusion.
 23
    The Moreno court likewise confirmed the district court’s discretion to “consider subsequent
 developments.” Id.
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 then citing United States v. Boulding, 960 F.3d 774, 784 (6th Cir. 2020))); United States v. Wilcox,

 858 F. App’x 853 (6th Cir. 2021) (Murphy, J.) (citing the same for the same proposition).

           The Seventh and Eighth Circuits have also “join[ed] the Sixth Circuit’s view that § 404 of

 the [FSA] authorizes but does not require a district court to apply intervening judicial decisions.”

 United States v. Fowowe, 1 F.4th 522, 531–32 (7th Cir. 2021) (citing Maxwell, 991 F.3d at 692);

 see also United States v. Shepard, 8 F.4th 729, 733 (8th Cir. 2021) (holding the same) (citing

 Maxwell, 991 F.3d at 689–90).

           The Supreme Court has since granted the Concepcion defendant’s petition for a writ of

 certiorari, which was filed contemporaneously with the Maxwell defendant’s docketed petition.

 See Concepcion v. United States (U.S. Sept. 30, 2021) (No. 20-1650). And the Solicitor General

 defends the Maxwell court’s position. See Brief for the United States in Opposition at 18–19,

 Maxwell v. United States (U.S. May 27, 2021) (No. 20-1653) (“Section 404’s requirement . . . does

 not either explicitly or by necessary implication direct courts to consider unrelated post-sentencing

 changes.”).

                                                   V.

           In the race between Montgomery and Maxwell, it appears the tortoise has won. Yet this

 Court must honor the hare. Indeed, “[e]fforts to rewrite the past are not easy.” Maxwell, 991 F.3d

 at 689.

           The Montgomery court has ordered this Court to resentence Mr. Montgomery by pairing

 the FSA modifications with the Guidelines as they existed at his resentencing. Accordingly, this

 Court must retroactively apply Amendment 742, notwithstanding the Commission’s binding

 determination that Amendment 742 is not retroactive. Dillon v. United States, 130 S. Ct. 2683,

 2693 (2010). That recalculation will also contrast with the Sixth Circuit’s holdings in Maxwell,


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 Bonds II, Moreno, Osborne, and Wilcox. See also United States v. Jarvis, 999 F.3d 442, 445 (6th

 Cir. 2021) (“The text . . . does not permit us to treat the [FSA]’s non-retroactive amendments,

 whether by themselves or together with other factors, as ‘extraordinary and compelling’

 explanations for a sentencing reduction.”).

        Therefore, Court will resentence Defendant by pairing the FSA modifications with the

 Guidelines as they existed at Defendant’s resentencing, thus retroactively applying nonretroactive

 Amendment 742. See United States v. Clinton, 338 F.3d 483 (6th Cir. 2003) (“A published decision

 of the Court of Appeals is binding on subsequent panels unless an ‘inconsistent decision of the

 United States Supreme Court requires modification of the decision or the Court sitting en banc

 overrules the prior decision.’” (quoting United States v. Smith, 73 F.3d 1414, 1418 (6th Cir.

 1996))); see also United States v. Master, 614 F.3d 236, 243 (6th Cir. 2010) (same); Hall v.

 Eichenlaub, 559 F. Supp. 2d 777, 782 (E.D. Mich. 2008) (“In the absence of Supreme Court

 precedent directly on point, a district court should decline to ‘underrule’ established circuit court

 precedent.” (citing Johnson v. Detroit, 319 F. Supp. 2d 756, 771, n.8 (E.D. Mich. 2004))); Cochran

 v. Trans-General Life Ins. Co., 60 F.Supp.2d 693, 698 (E.D. Mich. 1999) (holding that district

 courts are bound by the decisions of the Sixth Circuit Court of Appeals).


        Dated: October 8, 2021                                 s/Thomas L. Ludington
                                                               THOMAS L. LUDINGTON
                                                               United States District Judge




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